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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                     (Palm Beach Division)

                               Case No. 9:19-CV-80633-ROSENBERG


    SECURITIES AND EXCHANGE COMMISSION,

           Plaintiff,

    v.

    NATURAL DIAMONDS INVESTMENT CO.,
    et al.,

           Defendants,

    H.S. MANAGEMENT GROUP LLC, et al.,

          Relief Defendants.
    ______________________________________________/

                             ELEVENTH QUARTERLY STATUS
                        REPORT OF RECEIVER JEFFREY C. SCHNEIDER

           Pursuant to paragraphs 46 and 47 of Section XII of the Order Granting Plaintiff Securities

    and Exchange Commission’s Motion for Appointment of Receiver [DE 20] (the “Appointment

    Order”), Jeffrey C. Schneider, not individually, but solely in his capacity as the Court-appointed

    Receiver (the “Receiver”) for Natural Diamonds Investment Co. (“NDIC”), Eagle Financial

    Diamond Group, Inc. (“EFDG”), and Argyle Coin, LLC (“Argyle”) (collectively, the

    “Receivership Entities”), submits his Eleventh Quarterly Status Report for the quarter ending

    December 31, 2021.

                                           INTRODUCTION

           In the last quarter, my team and I made strides toward completing the claims evaluation

    process and conducted the auction of the diamonds and jewelry I secured since the time of my

    appointment. We also continued our regular communication with victims regarding the status of

    the receivership and the claims process, and we were required to take steps to confirm the stays of
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    state court cases remain in place. The Appointment Order requires me to file Quarterly Status

    Reports within 30 days of the end of each calendar quarter. This report will cover the period from

    October 1, 2021 through December 31, 2021.

       A. A Summary of the Operations of the Receiver

                   1. The claims procedure and auction

           As the Court is aware, I commenced a claims procedure in late June. I gave notice to all

    known investors and creditors of the process and the deadline for claimants to submit their proof

    of claim forms was, pursuant to an order from this Court, September 30, 2021—the last day of the

    quarter covered by this report. I sent out claim forms to over 350 investors and potential creditors

    by mail and email, and I made a claim form, along with information about the claims procedure,

    on the website that I created—https://naturaldiamondsreceivership.com.

           As of September 30, 2021, we had received 212 claim forms. Many of those claims were

    deficient in terms of the requisite documentation or with regard to how the losses were calculated.

    We therefore had to reach out to those claimants to obtain the required information or otherwise

    work with them to reach agreement on the amounts of the claims. By way of example, many

    claimants did not include proof of their investments or misunderstood that “reinvestment” or

    “rollover” of their original funds did not constitute a separate investment because fresh money was

    not sent to any of the Receivership Entities. This has proven to be a more labor-intensive task than

    anticipated, but our goal was to reduce the number of objections that I would have to make. Indeed,

    given the economics of the case, my goal is to try to resolve and eliminate all objections, which

    will reduce the amount of funds I might have to reserve until the resolution of any objections and

    eliminate the possibility of having to make a second distribution.

           As of the filing of this report, there are fewer than 10 claimants with whom we are

    communicating in an effort to obtain documentation or resolve potential objections. I am still on

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    track to submit a proposed distribution plan in in the first quarter of 2022. As of right now, the

    approximate amount of allowed claims is over $27 million. The distribution to those claimants

    will be funded by the amounts currently held in the Receivership bank accounts (identified on

    Exhibit A), along with the proceeds of the auction of the diamonds, jewelry, and other items in my

    possession (which amount is discussed more fully below).

            The auction of the diamonds, jewelry, and coins in my possession took place on January

    12, 2022. We used Stampler Auctions, an auction company well-known in South Florida and to

    the bankruptcy and receivership community. The delivery of the majority of sold items took place

    the week of January 17, and the auctioneer’s final reports are being prepared. I anticipate receiving

    those reports and the funds from the auction within the next two weeks. Unfortunately, the auction

    did not yield nearly the amount I had hoped to obtain for the victims. Almost all of the cut

    diamonds and jewelry were sold, but most of the rough diamonds did not sell, so I must now look

    for another way to monetize those diamonds for the victims.

            Pursuant to the agreement with Gold7, LLC (“G7”), some of the proceeds from the auction

    will be paid to G7, and G7 is now required to use its best efforts to sell the remaining pieces subject

    to the remaining agreement with G7 for the mutual benefit of G7 and the Receivership. Because

    I will receive the auctioneer’s report in the middle of February and will receive an update from G7

    in that same timeframe, I will provide an update to victims on the receivership website before the

    end of the next quarter, so that victims do not have to wait for my next report to learn about the

    sale of the remaining diamonds and jewelry. Unfortunately, I can estimate, at this juncture, that

    the auction will yield only about $250,000 to the Receivership estate. As stated above, however,

    there are additional items that still need to be sold.




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                      2. Other Pending Lawsuits

           As I noted above, I continue to communicate with the lawyers and presiding judges in the

    known pending cases against the Receivership Entities, the Seigels, and/or Aman to confirm that

    the various courts are observing the stay of those other lawsuits. Several of the pending lawsuits

    continue to require some action, as the courts continue to issue notices of lack of prosecution,

    schedule status checks, or improperly place the cases on trial dockets, so I have worked with

    investor counsel to file the appropriate motions and notices to ensure that the stay remains in place

    in those cases.

                      3. Communications with Victims and Investors

           I continue to update the Receivership website with court filings and other information for

    investors. My staff, professionals, and I regularly communicate with investors, especially during

    and after the claims process while they had questions about the claim forms and the status of the

    evaluation process. My staff and I strive to respond to inquiries fully, yet efficiently, to continue

    to maximize the recovery available to all victims.

       B. The Amount of Cash on Hand, the Amount and Nature of Accrued Administrative
          Expenses and the Amount of Unencumbered Funds in the Estate

           As of December 31, 2021, there was $2,219,286.63 in the Argyle receivership bank

    account. As previously reported, I established an NDIC and EFDG receivership bank account in

    early April 2019 to deposit and safeguard their funds in connection with the Corporate Monitor

    Action (as defined in prior reports) that was closed. As of September 30, 2021, there was

    $46,450.70 in that account.




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       C. A Schedule of All the Receiver’s Receipts and Disbursements (Attached as Exhibit A
          to the Quarterly Status Report), with One Column for the Quarterly Period Covered
          and a Second Column for the Entire Duration of the Receivership

           Attached as Exhibit A is the required schedule of my receipts and disbursements during

    the subject quarterly period. The attached schedule reflects the balances delineated above for the

    Argyle and EFDG/NDIC receivership accounts, respectively.

       D. A Description of All Known Receivership Property, Including Approximate or Actual
          Valuations, Anticipated or Proposed Dispositions, and Reasons for Retaining Assets
          Where No Disposition Is Intended

           In the last quarter, no new diamonds, funds, or other items were obtained. Therefore, I will

    simply refer to my prior reports, incorporated here by reference, for a detailed explanation of the

    property maintained on hand.

       E. A Description of Liquidated and Unliquidated Claims Held by the Receivership
          Estate, Including the Need for Forensic and/or Investigatory Resources; Approximate
          Valuations of Claims; and Anticipated or Proposed Methods of Enforcing Such
          Claims (Including Likelihood of Success in: (i) Reducing the Claims to Judgment;
          and (ii) Collecting Such Judgments)

           I continue to be very mindful and sensitive of the issue of expenses and the necessity for

    efficiency regarding any potential claims to be brought on behalf of the Receivership Estate. As

    noted above, as further proof of my sensitivity to costs, my team and I are striving to minimize the

    number of objections to be filed so as to minimize those costs to the Receivership Estate as well.

    At this time, I do not anticipate bringing any additional claims.

       F. A List of All Known Creditors with Their Addresses and the Amounts of Their
          Claims

           According to the SEC’s forensic work, it appears that the Receivership Entities raised at

    least $30 million. As noted above, the anticipated amount of allowed claims is approximately $27

    million. As also noted above, I anticipate submitting a proposed distribution plan for all holders

    of allowed claims in the near future (within the first quarter of 2022), with very few objections.


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        G. The Status of Creditor Claims Proceedings, after Such Proceedings Have Been
           Commenced

            I detailed the status of the claims procedure above in section A and the status of all lawsuits

    brought by investors. Until and unless I assert objections to claims, there is nothing further to

    report here at this time.

        H. The Receiver’s Recommendations for a Continuation or Discontinuation of the
           Receivership and the Reason for the Recommendations

            I obviously recommend that the Receivership continue. At this juncture, all that remains

    is for me to sell the remaining items that did not sell at auction, resolve the few pending objections

    to claims, and distribute the proceeds to holders of allowed claims. At this point, I anticipate a

    need for the Receivership to continue into the second or third quarter of 2022, at which time I will

    likely recommend a discontinuation.

    Dated: January 31, 2022                                /s/ Jeffrey C. Schneider
                                                           Jeffrey C. Schneider, not individually,
                                                           but solely in my capacity as Receiver




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                         EXHIBIT A
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                                                          STANDARDIZED FUND ACCOUNTING REPORT

                                                          SECURITIES AND EXCHANGE COMMISSION
                                                                                  vs.
                                                         NATURAL DIAMONDS INVESTMENT CO., et al.
                                                               CASE NO.: 19-CV-80633-ROSENBERG
                                                      Reporting Period October 1, 2021 through December 31, 2021

  FUND ACCOUNTING


                                                                                                                                   Detail                  Subtotal
                    Beginning Balance
  Line 1                                                                                                                                                   $2,293,588.53

  Line 2            Business Income                                                                                                                               $0.00

  Line 3            Cash and Securities                                                                                                                           $0.00
                    Interest/Dividend
  Line 4            Income                                                                                                                                        $0.00

  Line 5            Business Asset Liquidation                                                                                                                    $0.00

  Line 6            Personal Asset Liquidation                                                                                                                    $0.00
                    Third-Party Litigation
  Line 7            Income                                                                                                                                        $0.00
                                                                                                           Acknowledgment of Receipt of Diamond from Ron
  Line 8            Miscellaneous - Other                                                                  Cheron                                               $650.00

                    TOTAL FUNDS (Lines 1-8)                                                                                                                $2,294,238.53

                                          Decreases in Fund Balance:


  Line 9            Disbursements to Investors                                                                                                                    $0.00

  Line 10           Disbursements for Receivership Operations                                                                                                     $0.00

  Line 10a          Disbursements to Receiver or Other Professionals                                       Order Granting Eighth Fee Application             $28,306.20
                                                                                                           Wire Transfer Fee -$35.00
                                                                                                           Wire Transfer Fee-$35.00
  Line 10b          Business Asset Expenses (Bank Service Charge)                                          Safe Deposit Rental-$125.00                          $195.00

  Line 10c          Personal Asset Expenses                                                                                                                        $0.00

  Line 10d          Investment Expenses                                                                                                                           $0.00

  Line 10e          Third-Party Litigation Expenses                                                                                                               $0.00

                    Attorneys Fees                                                                                                                                $0.00

                    Litigation Expenses                                                                                                                           $0.00

                    Total Third-Party Litigation Expenses                                                                                                         $0.00

                    Total Disbursements for Receivership Operations:                                                                                         $28,501.20

                       Disbursements for Distribution Expenses Paid by the Fund:
  Line 11

                                   Distribution Plan Development Expenses:
  Line 11a

                    Fees                                                                                                                                          $0.00

                    Fund Administrator                                                                                                                            $0.00
                    Independent Distribution
                    Consultant (IDC)                                                                                                                              $0.00

                    Distribution Agent                                                                                                                            $0.00

                    Consultants                                                                                                                                   $0.00

                    Legal Advisers                                                                                                                                $0.00

                    Tax Advisers                                                                                                                                  $0.00

                    Administrative Expenses                                                                                                                       $0.00

                    Miscellaneous - Other                                                                                                                         $0.00

                    Total Plan Development Expenses                                                                                                               $0.00

                                   Distribution Plan Implmentation Expenses:
  Line 11b

                    Fees

                    Fund Administrator                                                                                                                            $0.00
                    Independent Distribution
                    Consultant (IDC)                                                                                                                              $0.00

                    Distribution Agent                                                                                                                            $0.00

                    Consultants                                                                                                                                   $0.00

                    Legal Advisers                                                                                                                                $0.00

                    Tax Advisers                                                                                                                                  $0.00




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                       Administrative Expenses                                                    $0.00

                       Investor Identification                                                    $0.00

                       Notice/Publishing Approved Plan                                            $0.00

                       Claimant Identification                                                    $0.00

                       Claims Processing                                                          $0.00

                       Website Maintenance/Call Center                                            $0.00

                       Fund Administrator Bond                                                    $0.00

                       Miscellaneous - Other                                                      $0.00

                       Federal Account for Investor Restitution (FAIR) Reporting Expenses         $0.00

                       Total Plan Implementation Expenses Not Paid by the Fund                    $0.00

                       Total Disbursements for Distribution Expenses Paid by the Fund             $0.00

                                            Disbursements to Court/Other:
  Line 12

  Line 12a             Investment Expenses/Court Registry Investment System (CRIS) Fees           $0.00

  Line 12b             Federal Tax Payments                                                       $0.00

                       Total Disbursements to Court/Other:                                        $0.00

                       Total Funds Disbursed (Lines 9-11):                                   $28,501.20

  Line 13              Ending Balance (As of 12/31/2021):                                   2,265,737.33

  Line 14              Ending Balance of Fund - Net Assets:

  Line 14a             Cash & Cash Equivalents                                                    $0.00

  Line 14b             Other Assets or Uncleared Funds

                       Total Ending Balance of Fund - Net Assets



  OTHER SUPPLEMENTAL
                                  Report of Items NOT to be Paid by the Fund:
  INFORMATION:
                       Disbursements for Plan Adminisration Expenses Not Paid by the
  Line 15              Fund:                                                                      $0.00

  Line 15a             Fees                                                                       $0.00

                       Fund Administrator                                                         $0.00

                       IDC                                                                        $0.00

                       Distribution Agent                                                         $0.00

                       Consultants                                                                $0.00

                       Legal Advisers                                                             $0.00

                       Tax Advisers                                                               $0.00

                       Administrative Expenses                                                    $0.00

                       Miscellaneous                                                              $0.00

                       Total Plan Development Expenses Not Paid by the Fund                       $0.00

                              Plan Implementation Expenses Not Paid by the Fund:
  Line 15b                                                                                        $0.00

                       Fees

                       Fund Administrator                                                         $0.00

                       IDC                                                                        $0.00




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                                      10
                                      Distribution Agent                                                        $0.00

                                      Consultants                                                               $0.00

                                      Legal Advisers                                                            $0.00

                                      Tax Advisers                                                              $0.00

                                      Administrative Expenses                                                   $0.00

                                      Investor Identification:                                                  $0.00

                                      Notice/Publishing Approved Plan                                           $0.00

                                      Claimant Identification                                                   $0.00

                                      Claims Processing                                                         $0.00

                                      Website Maintenance/Call Center                                           $0.00

                                      Fund Administrator Bond                                                   $0.00

                                      Miscellaneous                                                             $0.00

                                      FAIR Reporting Expenses                                                   $0.00

                                      Total Plan Implementation Expenses Not Paid by the Fund                   $0.00

                                            Tax Administrator Fees & Bonds Not Paid by the Fund:
 Line 15c
                                      Total Disbursements for Plan Administration Expenses Not Paid
                                      by the Fund                                                               $0.00

                                             Disbursements to Court/Other Not Paid by the Fund:
 Line 16                                                                                                        $0.00

 Line 16a                             Investment Expenses/CRIS Fees                                             $0.00

 Line 16a                             Federal Tax Payments                                                      $0.00

                                      Total Disbursements to Court/Other Not Paid by the Fund:                  $0.00

 Line 17                              DC & State Tax Payments                                                   $0.00

 Line 18                              No. of Claims:                                                      212

 Line 18a                             # of Claims Received This Reporting Period                          212

 Line 18b                             # of Claims Received Since the Inception of Fund                    212

 Line 19                              No. of Claimants/investors:                                         212

 Line 19a                             # of Claimants/Investors Paid This Reporting Period                  0

 Line 19b                             # of Claimants/Investors Paid Since Inception of Fund                0




 Receiver:




 By:______________________________________
    Jeffrey C. Schneider, Court Appointed Receiver

    Jeffrey C. Schneider______________________
    (printed name)

    Date: January 31, 2022




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